     Case 5:18-cv-02652-CAS-JEM Document 55 Filed 09/25/20 Page 1 of 2 Page ID #:656



1

2

3

4

5

6

7

8

9                        UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11
                                                  )
12    TIMOTHY L. WHITING,                         )    Case No. EDCV 18-2652-CAS (JEM)
                                                  )
13                        Plaintiff,              )
                                                  )    ORDER ACCEPTING FINDINGS AND
14                 v.                             )    RECOMMENDATIONS OF UNITED
                                                  )    STATES MAGISTRATE JUDGE
15    DEPARTMENT OF THE CALIFORNIA                )
      HIGHWAY PATROL, et al.,                     )
16                                                )
                          Defendants.             )
17                                                )
18          Pursuant to 28 U.S.C. Section 636, the Court has reviewed the pleadings, the
19    records on file, and the Amended Report and Recommendation of the United States
20    Magistrate Judge, filed September 1, 2020. Defendants have filed Objections, and the
21    Court has conducted a de novo review of those portions of the Report and
22    Recommendation to which Defendants have objected. The Court accepts the findings and
23    recommendations of the Magistrate Judge.
24          IT IS ORDERED that: (1) Defendants’ Motion to Dismiss is granted in part and
25    denied in part as follows: (a) Claims One, Four through Six, and Eight through Fifteen are
26    dismissed without leave to amend; (b) Claim Seven is dismissed with leave to amend as to
27    Ceballos and without leave to amend as to the other Defendants; (c) the Motion to Dismiss
28
     Case 5:18-cv-02652-CAS-JEM Document 55 Filed 09/25/20 Page 2 of 2 Page ID #:657



1     is denied as to Claims Two and Three against Ceballos; and (2) Plaintiff is granted leave to
2     file a Third Amended Complaint consistent with this Order within thirty days.
3           If Plaintiff decides not to file a Third Amended Complaint, the action will proceed on
4     Claims Two and Three against Defendant Ceballos.
5

6

7     DATED: September 25, 2020
                                                             CHRISTINA A. SNYDER
8                                                       UNITED STATES DISTRICT JUDGE
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                  2
